
PER CURIAM.
On consideration of appellant’s motion for rehearing, we withdraw the opinion dated December 29, 1992, 611 So.2d 1293, and substitute the following opinion:
The plaintiff, Robert Revitz, appeals from a final judgment in favor of the defendants, Roy A. Terrell, Jr., Charlyne S. Terrell, A.F. “Jerry” Egan, Inc.1 and Faye Buchanan, entered by the trial court upon remand. The plaintiff also appeals from the trial court’s order awarding attorneys’ fees to the defendants in the amount of $181,000.00. We reverse.
We reverse based on our conclusion that the trial court upon remand did not follow the law of the case established in Revitz v. Terrell, 572 So.2d 996 (Fla. 3d DCA 1990). See Wood v. Department of Professional Regulation, Board of Dentistry, 490 So.2d 1079 (Fla. 1st DCA 1986); Brunner Enterprises, Inc. v. Department of Revenue, 452 So.2d 550 (Fla.1984). Accordingly, we reverse the final judgment entered in favor of the defendants and the order awarding attorneys’ fees to the defendants, and remand with instructions to enter judgment in favor of the plaintiff for zero dollars. Upon remand, pursuant to the real estate contract, the plaintiff, as the prevailing party, is also to be awarded attorney’s fees.

. A.F. "Jerry” Egan, Inc. is not involved in this appeal.

